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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



IN RE: EAST PALESTINE TRAIN DERAILMENT                       Case No. 4:23-CV-00242-BYP

                                                             JUDGE BENITA Y. PEARSON


  DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ MASTER CONSOLIDATED
  CLASS ACTION COMPLAINT UNDER FEDERAL RULE OF CIVIL PROCEDURE
  12(b)(6) AND TO STRIKE UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(f)

       Under Federal Rules of Civil Procedure 12(b)(6) and 12(f), Defendants Norfolk Southern

Railway Company and Norfolk Southern Corporation move to dismiss Plaintiffs’ Master

Consolidated Class Action Complaint (Dkt. 31) for failure to state a claim upon which relief can

be granted and to strike Plaintiffs’ request for punitive damages. The grounds for this Motion

are set forth in the accompanying Memorandum in Support.
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Dated: June 2, 2023                           Respectfully submitted.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2023, I caused a copy of the foregoing to be filed with the

Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

electronic notice to all counsel of record.


                                                /s/ Alan Schoenfeld
                                                ALAN SCHOENFELD
